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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.




 State of Colorado, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.



                                     JOINT STATUS REPORT

       In accordance with the Court’s instructions during the Status Conference of February 25,

2021, the parties in United States v. Google LLC and State of Colorado v. Google LLC submit

the following Joint Status Report to update the Court on the state of discovery.

I.     Case No. 1:20-cv-03010

       A.      Plaintiffs’ and Google’s Joint Summary of the State of Discovery

       Third Party Confidentiality Designations. Pursuant to the Stipulated Protective Orders

(ECF Nos. 98 & 86), Plaintiffs continue to receive and process the third parties’ Highly

Confidential designations.
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       Third Party Discovery. Google served cross-notices to another four of the 40 third parties

subpoenaed by Plaintiffs. On a weekly basis, the parties exchange notices of modifications,

extensions, or postponements to discovery requests served on non-parties.

       Google’s Discovery to Plaintiffs. Google served Plaintiffs with its First Set of Requests

for Production on February 2, 2021. Plaintiff United Stated of America submitted its Responses

and Objections on March 3, and the remaining Plaintiffs submitted their Responses and

Objections on March 4. Plaintiffs restated their commitment to produce documents on March 12

and 26. Plaintiff United States also committed to begin a rolling production of third-party

correspondence on April 9.

       Plaintiffs’ Discovery to Google. Google states that it has begun its document review and

production efforts using the search terms and a subset of custodians identified in Appendices A

and B of Plaintiffs’ First Request for Production of Documents. Google has made its first

document production, totaling approximately 3,000 documents, and has made four data

productions. As indicated in the February 23 Status Report, Google anticipates that it will

substantially complete production of the data sets it has agreed to produce by the end of March

and anticipates that it will substantially complete production of the responsive, non-privileged

documents collected from the 76 agreed custodians by the end of May. On March 4, Google

provided Plaintiffs with its interim benchmarks with respect to the timing of the production of

documents: Google anticipates that it will have produced approximately 50% of the responsive,

non-privileged documents collected from the 76 agreed custodians by early April, and it

anticipates that it will have produced approximately 75% of those documents by early May (both

benchmarks are based on application of the search strings in Google’s March 4 proposal).
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        After the Status Conference of February 25, Plaintiffs developed a search protocol that

included additional search terms and custodians. Plaintiffs submitted their proposal to Google on

Monday, March 1, 2021. Google submitted its counterproposal on Thursday, March 4, 2021.

        The parties met and conferred regarding the search protocol on March 4 and 5 and will

continue the meet-and-confer process over the next few days. The parties remain committed to

narrowing the points of dispute, and with the Court’s indulgence, propose to file position

statements regarding any points of dispute by next Wednesday, March 10.

II.     Case No. 1:20-cv-03715

        A.      Plaintiff States’ and Google’s Joint Summary of the State of Discovery

        Google’s Discovery to Plaintiff States. Google served on Plaintiff States its First Set of

Requests for Production on February 5, 2021. Plaintiff States are preparing Responses and

Objections to be served on or before March 8, 2021, in accordance with Paragraph 9 of the Case

Management Order.

        Plaintiffs’ Discovery to Google. Plaintiff States served on Google their First Requests for

Production (“First RFPs”) on February 24, 2021. Because the Plaintiff States’ First RFPs

incorporate the United States’ (“DOJ Plaintiffs”) Second Requests for Production in their

Request #2, the Plaintiff States have an independent interest in the manner in which those DOJ

Plaintiffs’ requests are fulfilled. Plaintiff States, therefore, are participating in the parties’ joint

meeting of counsel, including those occurring on March 4, 2021 and March 5, 2021 regarding

search terms and custodians.

        Plaintiff States requested Google specify a date when it will provide the Plaintiff States

with proposed search strings and custodians for the separate requests in their First RFPs (in other

words for the requests other than Plaintiff States’ #2). Google has offered to provide custodians
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by March 22, and proposed search terms by March 29, and the Plaintiff States have accepted that

proposal.
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Dated: March 5, 2021                Respectfully submitted,


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